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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DR. WILLIAM P. GRESS,                                  )
on behalf of plaintiff and                             )
the class members defined herein,                      )
                                                       )      17 C 1119
                Plaintiff,                             )
                                                       )      Judge Shadur
                v.                                     )      Magistrate Judge Cox
                                                       )
EPATIENTS.COM, INC.,                                   )
and JOHN DOES 1-10,                                    )
                                                       )
                Defendants.                            )

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Dr. William P. Gress voluntarily

dismisses his individual claims without prejudice and without costs against defendant

ePatients.com, Inc. Plaintiff Dr. William P. Gress voluntarily dismisses his class claims against

defendant ePatients.com, Inc. without prejudice and without costs. Plaintiff Dr. William P.

Gress voluntarily dismisses his claims against John Does 1-10 without prejudice and without

costs.

                                               Respectfully submitted,

                                               s/ Heather Kolbus
                                               Heather Kolbus

Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
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Chicago, Illinois 60603
(312) 739-4200
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                                CERTIFICATE OF SERVICE

        I, Heather Kolbus, certify that on March 20, 2017, I caused a true and accurate copy of
the foregoing document to be served, via U.S. Mail, on the following party:

               ePatients.com, Inc.
               The Corporation Trust Company, Registered Agent
               Corporation Trust Center
               1209 Orange Street
               Wilmington, Delaware 19801



                                                    s/ Heather Kolbus
                                                    Heather Kolbus




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